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ATTORNEY FOR FORD MOTOR CREDIT COMPANY LLC

                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION

IN RE:                                           §
                                                 §
ENERGY & EXPLORATION PARTNERS                    §      CASE NO. 15-44931-RFN-11
INC,                                             §
          DEBTOR,                                §      (Jointly Administered)
                                                 §
FORD MOTOR CREDIT COMPANY LLC,                   §
         MOVANT,                                 §
                                                 §
VS.                                              §      A Hearing on the Motion for
                                                 §      Relief from the Automatic Stay
ENERGY & EXPLORATION PARTNERS                    §      or, in the Alternative, Request
LLC,                                             §      for Adequate Protection set:
          RESPONDENT.                            §      MARCH 23, 2016 AT 9:30 A.M.

                              AMENDED NOTICE OF HEARING
TO ALL PARTIES IN INTEREST:
         This is to inform you that a hearing on the Motion for Relief filed on February 5, 2016
(Doc #’s 349 and 350) have been re-set for hearing on March 23, 2016 at 9:30 a.m., before the
Honorable Russell F. Nelms, 2nd Floor, United States Courthouse, 501 West Tenth Street, Fort
Worth, Texas 76102.
         DATED February 24, 2016.
                                                        Respectfully submitted,
                                                          /s/   Stephen G. Wilcox
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                               NOTICE
ABSENT COMPELLING CIRCUMSTANCES WARRANTING AN ALTERNATIVE
PROCEDURE, EVIDENCE PRESENTED AT PRELIMINARY HEARINGS IN THE
DALLAS AND FORT WORTH DIVISIONS ON MOTIONS FOR RELIEF FROM THE
AUTOMATIC STAY WILL BE BY AFFIDAVIT ONLY. THE RESPONDING PARTY
SHALL SERVE EVIDENTIARY AFFIDAVITS AT LEAST 2 DAYS IN ADVANCE OF
SUCH HEARING. THE FAILURE OF A RESPONDENT TO FILE AN EVIDENTIARY
AFFIDAVIT, OR THE FAILURE OF AN ATTORNEY TO ATTEND A SCHEDULED AND
NOTICED PRELIMINARY HEARING, SHALL BE GROUNDS FOR GRANTING THE
RELIEF, REGARDLESS OF THE FILING OF A RESPONSE TO THE MOTION.


                                   CERTIFICATE OF SERVICE
       This is to certify that a true and correct copy of the foregoing Amended Notice of Hearing
was served by FIRST CLASS MAIL, POSTAGE PREPAID on:

Energy & Exploration Partners LLC
420 Throckmorton Street, Suite 1200
Fort Worth, TX 76102

and all parties listed on the attached mailing matrix;

and by ELECTRONIC FILING on:

William Wood III
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Office of the U.S. Trustee
1100 Commerce, Room 976
Dallas, TX 75242

on February 24, 2016
                                                           /s/ Stephen G. Wilcox
                                                         Stephen G. Wilcox
1702/35081/403730




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